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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION


   BABY DOE, et al.,                             )
                                                 )
                  Plaintiffs,                    )
                                                 )
   v.                                            ) Case No. 3:22-cv-00049-NKM-JCH
                                                 )
   JOSHUA MAST, et al.,                          )
                                                 )
                  Defendants,                    )
                                                 )
   and                                           )
                                                 )
   UNITED STATES SECRETARY OF                    )
   STATE ANTONY BLINKEN, et al.,                 )
                                                 )
                  Nominal Defendants.            )
                                                 )


          JOINT MOTION TO MODIFY SECOND AMENDED PRETRIAL ORDER

         Plaintiffs Baby Doe, John Doe and Jane Doe, and Defendants Joshua Mast, Stephanie Mast,

  Richard Mast, Kimberley Motley, Ahmad Osmani, Secretary Antony Blinken and General Lloyd

  Austin, by counsel, file this Joint Motion to Modify Second Amended Pretrial Order (ECF No. 148)

  to continue the trial dates to the two-week period beginning February 5, 2024.

         Under Rule 16(b) of the Federal Rules of Civil Procedure, the Court may modify a

  scheduling order for good cause. Here, good cause exists because the parties have several

  motions pending, the resolution of which will impact discovery and the scope of the case. In

  particular, the parties await a ruling on Plaintiffs’ motion for a protective order (ECF No. 166)—

  the pendency of which has affected the parties’ ability to conduct discovery; non-party Caleb

  Mast’s motion to quash subpoena to Liberty University (ECF No. 197); Nominal Defendants’

  motion for protective order (ECF No. 203), and Defendant Richard Mast’s motion to compel

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  (ECF No. 219). The parties also await resolution of Defendants’ motions to dismiss (ECF Nos.

  85, 88, 90, 92) and, consequently, Defendants have yet to file answers to the complaint. Thus,

  Plaintiffs are not yet aware of the Defendants’ respective defenses, further impacting their ability

  to conduct discovery. Also pending are motions to lift the protective order allowing the Plaintiffs

  to proceed with pseudonyms (ECF Nos. 130, 176), Richard Mast’s motion to direct the clerk to

  seek certain information from the circuit court (ECF No. 174), and Plaintiffs’ motion to show

  cause (ECF No. 141).

         The parties propose that, in the interest of judicial economy, they be afforded the

  necessary time to fully understand the scope of the issues and the parties’ defenses as they

  proceed with discovery. Accordingly, the parties respectfully request that the Court amend the

  Pretrial Order by moving the trial to the two weeks beginning February 5, 2024, with deadlines

  for discovery, expert disclosures, and dispositive motion being adjusted accordingly. The parties

  have been informed by the courtroom deputy, Carmen Amos, that the Court has the weeks of

  February 5-16, 2024 available for trial.

         Defendants Joshua Mast, Stephanie Mast, Richard Mast, Kimberley Motley, and Ahmad

  Osmani have joined this motion as a first step but do so without prejudice to seeking further

  continuances of the trial date given the timing of the matters pending and new discovery issues

  and other matters likely to arise.

         The new proposed deadlines would be:

   Event                               Current Deadline               Revised Deadline
   Plaintiffs’ Initial Expert          May 24, 2023                   September 27, 2023
   Disclosures
   Defendants’ Initial Expert          June 8, 2023                   October 12, 2023
   Disclosures
   Deadline to Complete                90 days before trial date      90 days before trial date
   Discovery


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   Deadline to File Dispositive    75 days before trial date        75 days before trial date
   Motions
   Deadline for Hearing            45 days before trial date        45 days before trial date
   Dispositive Motions
   Trial                           Oct. 2-6, 2023 & Oct. 10-13,     Feb. 5-16, 2024
                                   2023

         The parties, therefore, respectfully ask the Court for an order modifying the deadlines set

  forth in the Second Amended Pretrial Order (ECF No. 148) in accordance with the schedule

  suggested herein. A proposed Amended Scheduling Order is attached hereto for the Court’s

  consideration.



  Dated: May 19, 2023                  Respectfully submitted,


                                       /s/ Maya Eckstein
                                       Maya M. Eckstein (VSB No. 41413)
                                       Lewis F. Powell III (VSB No. 18266)
                                       Kevin S. Elliker (VSB No. 87498)
                                       HUNTON ANDREWS KURTH LLP
                                       951 E Byrd St
                                       Richmond, VA 23219
                                       Telephone: (804) 788-8200
                                       Fax: (804) 788-8218
                                       Email: meckstein@HuntonAK.com
                                       Email: lpowell@HuntonAK.com
                                       Email: kelliker@HuntonAK.com

                                       Jeremy C. King (admitted pro hac vice)
                                       HUNTON ANDREWS KURTH LLP
                                       200 Park Avenue
                                       New York, NY 10166
                                       Telephone: (212) 309-1000
                                       Fax: (212) 309-1100
                                       Email: jking@HuntonAK.com

                                       Sehla Ashai (admitted pro hac vice)
                                       ELBIALLY LAW, PLLC
                                       704 East 15th Street
                                       Suite 204
                                       Plano, TX 75074

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                               Telephone: (312) 659-0154
                               Email: ashai@elbiallylaw.com

                               Blair Connelly (admitted pro hac vice)
                               Zachary L. Rowen (admitted pro hac vice)
                               LATHAM & WATKINS LLP
                               1271 Avenue of the Americas
                               New York, New York 10020
                               Telephone: (212) 906-1200
                               Facsimile: (212) 751-4864
                               Email: Blair.Connelly@lw.com
                               Email: Zachary.Rowen@lw.com

                               Ehson Kashfipour (admitted pro hac vice)
                               Damon R. Porter (admitted pro hac vice)
                               LATHAM & WATKINS LLP
                               555 Eleventh Street, N.W. Suite 1000
                               Washington, D.C. 20004
                               Telephone: (202) 637-2200
                               Facsimile: (202) 637-2201
                               Email: Ehson.Kashfipour@lw.com
                               Email: Damon.Porter@lw.com

                               Attorneys for Plaintiffs

                               Damon Porter (admitted pro hac vice)
                               Ehson Kashfipour (admitted pro hac vice)
                               LATHAM & WATKINS LLP
                               555 Eleventh Street, NW, Suite 1000
                               Washington, DC 20004-1304
                               Telephone: (202) 637-2001
                               Email: damon.porter@lw.com
                               Email: ehson.kashfipour@lw.com

                               Attorneys for Plaintiffs

                               /s/ Kathryn L. Wyer
                               Federal Programs Branch
                               U.S. Department of Justice, Civil Division
                               1100 L. Street., N.W., Room 12014
                               Washington, DC 20005
                               Tel. (202) 616-8475
                               Kathryn.wyer@usdoj.gov

                               Attorney for Nominal Defendants



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                               /s/ John S. Moran
                               John S. Moran (VSB No. 84236)
                               McGuireWoods LLP
                               888 16th St. N.W. Suite 500
                               Black Lives Matter Plaza
                               Washington, DC 20006
                               Phone: (202) 828 2817
                               Fax: (202) 828-3327
                               jmoran@mcguirewoods.com

                               Attorney for Defendants Joshua Mast and Stephanie Mast

                               /s/ Michael R. Hoernlein
                               Thomas W. Davison
                               (VSB No. 94387)
                               Samantha Van Winter
                               (VSB No. 97268)
                               ALSTON & BIRD LLP
                               950 F Street, N.W.
                               Washington, DC 20004-1404
                               Tel.: (202) 756-3300
                               Fax: (202) 654-3333
                               tom.davison@alston.com
                               samantha.vanwinter@alston.com

                               Michael R. Hoernlein
                               (pro hac vice)
                               ALSTON & BIRD LLP
                               101 South Tryon Street, Suite 4000
                               Charlotte, NC 28280-4000
                               Tel.: (704) 444-1000
                               Fax: (704) 444-1111
                               michael.hoernlein@alston.com

                               Sidney Webb
                               (pro hac vice)
                               ALSTON & BIRD LLP
                               2200 Ross Avenue, Suite 2300
                               Dallas, TX 75201
                               Tel.: (214) 922-3400
                               Fax: (214) 922-3899
                               sidney.webb@alston.com

                               Attorneys for Defendant Kimberley Motley




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                               /s/ Rick Boyer___________
                               Rick Boyer (VSB No. 80154)
                               INTEGRITY LAW FIRM, PLLC
                               P.O. Box 10953
                               Lynchburg, VA 24506
                               Ph. 434-401-2093
                               F: 434-239-3651
                               Email: rickboyerlaw@gmail.com

                               Attorney for Defendant Ahmad Osmani

                               /s/ Richard Mast
                               Richard L. Mast, Esq.
                               VSB No. 80660
                               1540 Insurance Lane
                               Charlottesville, VA, 22911
                               T: (540) 404-1781
                               F: (540) 301-0021
                               rlmast@protonmail.com




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on the 19th day of May, 2023, I electronically filed the foregoing with

  the Clerk of the Court using the CM/ECF system, which will send a notification of such filing to

  all CM/ECF participants.

                                                       By:     /s/ Maya M. Eckstein
                                                               Maya M. Eckstein (VSB # 41413)
                                                               Hunton Andrews Kurth LLP
                                                               Riverfront Plaza, East Tower
                                                               951 East Byrd Street
                                                               Richmond, Virginia 23219-4074
                                                               Telephone: (804) 788-8200
                                                               Facsimile: (804) 788-8218
                                                               meckstein@HuntonAK.com

                                                               Counsel for Plaintiffs




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